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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

MARCUS CASTER, LAKEISHA
CHESTNUT, BOBBY LEE DUBOSE,
BENJAMIN JONES, RODNEY ALLEN
LOVE, MANASSEH POWELL,
RONALD SMITH and WENDELL
THOMAS,
                                                 Case No. 2:21-CV-1536-AMM
                   Plaintiffs,

      v.

WES ALLEN, in his official capacity
as Alabama Secretary of State,

                   Defendant,
      and

CHRIS PRINGLE and JIM
McCLENDON,

                   Intervenor-Defendants.


 PLAINTIFFS’ RULE 15(b) MOTION TO AMEND THEIR COMPLAINT

      The Plaintiffs in the above-captioned action (“Caster Plaintiffs”) respectfully

move to amend their complaint to conform to the evidence presented at trial under

Fed. R. Civ. P. 15(b)(2). The proposed Second Amended Complaint (“SAC”),

attached hereto as Exhibit A, incorporates a claim for intentional vote dilution under

Section 2 of the Voting Rights Act, 52 U.S.C. § 10301. A redline showing the

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changes from the operative First Amended Complaint is attached as Exhibit B.

Counsel for Secretary Allen has indicated that Defendants oppose the motion.

                                         Background

       The Caster Plaintiffs filed their operative First Amended Complaint (“FAC”)

on January 31, 2024. Caster Doc. 271. The FAC alleges a single count of vote

dilution in violation of Section 2 of the Voting Rights Act, 52 U.S.C. § 10301. Id. at

41–43. Though not formally consolidated, this action has proceeded in tandem with

two other actions challenging Alabama’s congressional map: Milligan v. Allen, No.

2:21-cv-1530, and Singleton v. Allen, No. 2:21-cv-1291. The Milligan Plaintiffs, in

addition to claiming vote dilution under Section 2 of the Voting Rights Act, claim

that SB 5 (the “2023 Plan”)—the map enacted by the Alabama legislature in

response to this Court’s preliminary injunction order—was passed “with the intent

to dilute the vote of Black Alabamians in violation of the Fourteenth Amendment to

the U.S. Constitution . . . and Section 2 of the Voting Rights Act.” Milligan, Doc.

329 at 73; see also Milligan, Doc. 1 at 50–52 (challenging the previously enacted

map, HB1, as intentionally discriminatory in violation of the Fourteenth

Amendment).1




1
 The Singleton Plaintiffs also plead an intentional discrimination claim under the Fourteenth
Amendment, albeit on a somewhat different theory from that put forward by the Milligan
Plaintiffs. See Singleton, Doc. 229 at 43–44.
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      Throughout the litigation of these related matters, the parties have “agreed

that the three cases should continue to proceed together, without being formally

consolidated, and that evidence introduced in any case may be considered in every

case subject to the objection of either a party to the case from which the evidence

originates or the case in which the evidence is being introduced.” Caster, Doc. 356

at 2 (cleaned up). The parties have expressly agreed that this understanding will

“continue to govern at trial.” Id.; see also Trial Tr. Day 1 at 15:6–11 (“[T]he parties

have stipulated . . . the evidence introduced in any case may be considered in every

case subject to the objection of either a party to the case from which the evidence

originates or the case in which the evidence is being introduced.”). Trial of these

three matters began on February 10, 2025, and is ongoing.

                                     Argument

      The Court should grant leave to file the SAC to conform the issues pleaded

with those actually tried. “When an issue not raised by the pleadings is tried by the

parties’ express or implied consent, it must be treated in all respects as if raised in

the pleadings. A party may move—at any time, even after judgment—to amend the

pleadings to conform them to the evidence and to raise an unpleaded issue.” Fed. R.

Civ. P. 15(b)(2); see also Doe #6 v. Miami-Dade County, 974 F.3d 1333, 1335 (11th

Cir. 2020) (“Rule 15(b) allows parties to add unpled issues to a case if those issues

have been tried with the express or implied consent of the parties.”). The purpose of

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the rule is to “avoid a parsing of the pleadings by the losing party in hopes that some

issue, patently tried out with the knowledge of all, was not raised in them.” Jimenez

v. Tuna Vessel Granada, 652 F.2d 415, 420 (5th Cir. 1981).

      Here, Defendant and Intervenor-Defendants (collectively “Defendants”) have

impliedly consented to the trial of the intentional discrimination claim pleaded in the

SAC by agreeing that all evidence presented in Milligan may be considered in

Caster. “The presence of implied consent depends on whether the parties recognized

that an issue not presented by the pleadings entered the case at trial.” Doe # 6, 974

F.3d at 1339 (internal quotation marks omitted) (citation omitted). The single claim

added by the SAC is the same as a claim already being tried in the Milligan matter—

that Alabama “enacted SB5 with the intent to dilute the vote of Black Alabamians in

violation of . . . Section 2 of the Voting Rights Act . . . .” Milligan Doc. No. 329 at

73. To date, no party has objected to the consideration in Caster of evidence

introduced in Milligan, and vice versa. The trial records in the two cases overlap

completely. The Defendants’ assent to this arrangement plainly demonstrates their

implied consent to the trial of intentional discrimination claims in both Milligan and

Caster.

      The Defendants will not be prejudiced by the addition of an intentional vote

dilution claim to the Caster case. See Doe #6, 974 F.3d at 1339 (“Implied consent

under Rule 15(b) will not be found if the defendant will be prejudiced; that is, if the

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defendant had no notice of the new issue, if the defendant could have offered

additional evidence in defense, or if the defendant in some other way was denied a

fair opportunity to defend.” (cleaned up)). “Determining whether amendment will

be prejudicial requires determining whether the defendant had a fair opportunity to

defend and whether the defendant could offer any additional evidence if the case

were to be retried on a different theory.” Hall v. Merola, 67 F.4th 1282, 1298 (11th

Cir. 2023) (cleaned up); see also Doe #6, 974 F.3d at 1340 (“Prejudice in Rule

15(b)’s context means a lack of opportunity to prepare to meet the unpleaded

issue.”). Defendants here had more than sufficient notice of the issue because it was

pleaded in both the Complaint and the Amended Complaint in Milligan. And they

have had every opportunity and incentive to offer evidence in defense of the

substantively identical intentional discrimination claims pleaded by the Milligan

plaintiffs. There is therefore no reason to believe that Defendants “would have made

different choices at trial” had they anticipated both plaintiff groups would plead

substantively identical intent claims. Doe # 6, 974 F.3d at 1341.

                                    Conclusion

      The Caster Plaintiffs respectfully request that the Court grant leave to file the

SAC under Rule 15(b)(2).




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Dated: February 24, 2025             Respectfully submitted,

                                        By /s/ Abha Khanna

Richard P. Rouco                        Abha Khanna*
(AL Bar. No. 6182-R76R)                 Elias Law Group LLP
Quinn, Connor, Weaver, Davies           1700 Seventh Ave, Suite 2100
& Rouco LLP                             Seattle, WA 98101
Two North Twentieth                     Phone: (206) 656-0177
2-20th Street North, Suite 930          Email: AKhanna@elias.law
Birmingham, AL 35203
Phone: (205) 870-9989                   Lalitha D. Madduri*
Fax: (205) 803-4143                     Richard A. Medina*
Email: rrouco@qcwdr.com                 Qizhou Ge*
                                        Elias Law Group LLP
                                        250 Massachusetts Ave. NW, Suite 400
                                        Washington, D.C. 20001
                                        Phone: (202) 968-4518
                                        Email: LMadduri@elias.law
                                        Email: RMedina@elias.law
                                        Email: AGe@elias.law

                                        Attorneys for Plaintiffs
                                        *Admitted Pro Hac Vice




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                           CERTIFICATE OF SERVICE

      I hereby certify that on February 24, 2025, a copy of the foregoing was filed

with the Clerk of Court using the CM/ECF system, which will provide electronic

notice of filing to all counsel of record.

                                             /s/ Abha Khanna
                                             Abha Khanna
                                             Counsel for Plaintiffs




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